
BOWEN, Judge.
Linda Yvette Johnson pleaded guilty and was convicted of possession of a forged instrument in the second degree — a Class C felony. Alabama Code 1975, § 13A-9-6. She was sentenced as a habitual felony offender with two prior convictions to fifteen years’ imprisonment.
The record affirmatively reflects that the defendant was improperly sentenced on the basis of the application of the Habitual Felony Offender Act to a Class B, rather than a Class C, felony. Therefore, this cause is remanded with directions that a new sentencing hearing be conducted at which the defendant is properly sentenced. Buchanan v. State, 435 So.2d 142 (Ala.Cr.App.1982). A Class C offender with two prior felony convictions must be sentenced according to the punishment for a Class A felony. § 13A-5-9(b)(1). The defendant must be sentenced to a term of imprisonment of no less than 10 years and no more than 99 years or life. § 13A-5-6(a)(1). A record shall be made of the resentencing and it shall be forwarded to this Court upon completion.
The Attorney General has candidly conceded this error and requested a remand for proper sentencing.
REMANDED FOR PROPER SENTENCING.
All Judges concur.
ON RETURN TO REMAND
BOWEN, Judge.
On remand, the defendant was sentenced to 10 years’ imprisonment. Therefore, the judgment of the circuit court is affirmed.
OPINION EXTENDED; AFFIRMED.
All Judges concur.
